Case 8:18-bk-13311-SC         Doc 1026 Filed 02/12/21 Entered 02/12/21 15:59:58                         Desc
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   1   RICHARD A. MARSHACK
       rmarshack@marshackhays.com
   2   MARSHACK HAYS LLP
       870 Roosevelt
   3   Irvine, CA 92620
       Telephone: (949) 333-7777
   4   Facsimile: (949) 333-7778

   5   Chapter 7 Trustee

   6

   7                                UNITED STATES BANKRUPTCY COURT

   8                  CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

   9

  10   In re                                                    Case No. 8:18-bk-13311-SC

  11   RUBY’S DINER, INC., a California                         Chapter 7
       corporation, et al.,
  12                                                            (Jointly Administered with Case Nos.:
                        Debtor.                                 8:18-bk-13197-SC; 8:18-bk-13198-SC;
  13   Affects:                                                 8:18-bk-13199-SC; 8:18-bk-13200-SC;
                                                                8:18-bk-13201-SC; 8:18-bk-13202-SC)
  14   ☐       ALL DEBTORS
                                                                DECLARATION OF RICHARD A.
  15   ☒       RUBY’S DINER, INC., ONLY                         MARSHACK, CHAPTER 7 TRUSTEE,
                                                                IN SUPPORT OF FIRST INTERIM
  16   ☐       RUBY’S SOCAL, DINERS, LLC,                       APPLICATION FOR ALLOWANCE OF
               ONLY                                             FEES AND COSTS FILED BY
  17                                                            GLASSRATNER ADVISORY &
       ☐   RUBY’S QUALITY DINERS, LLC,                          CAPITAL GROUP, LLC
  18   ONLY
                                                                Hearing
  19   ☒       RUBY’S HUNTINGTON BEACH,                         Date: February 17, 2021
               LTD. ONLY                                        Time: 11:00 a.m.
  20                                                            Ctrm: 5C
       ☐       RUBY’S LAGUNA HILLS, LTD.                        Location: CourtCall or Zoom.Gov1
  21           ONLY

  22   ☒       RUBY’S OCEANSIDE, LTD, ONLY

  23   ☐       RUBY’S PALM SPRINGS, LTD.
               ONLY
  24

  25

  26
        Due to the COVID-19 outbreak, Judge Clarkson has altered his prior telephonic hearing procedures. Except as
  27    may be otherwise ordered by the Court, all hearings before Judge Clarkson will be conducted remotely using
        ZoomGov. Unless otherwise specifically ordered or instructed, Judge Clarkson will no longer utilize CourtCall.
        ZoomGov: Video and audio connection information for each hearing will be provided on Judge Clarkson's publicly
  28
        posted hearing calendar, which may be viewed online at: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC,
        and then selecting “Judge Clarkson” from the tab on the left-hand side of the page.

                                                       1
                         TRUSTEE’S DECLARATION IN SUPPORT OF INTERIM FEE APPLICATION
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   1          I, RICHARD A. MARSHACK, declare and state as follows:

   2          1.      I am an individual over 18 years of age and competent to make this Declaration. I

   3 am an attorney at law licensed to practice in this state and admitted to practice in this Court.

   4          2.      I am the Chapter 7 Trustee of the Bankruptcy Estate (“Estate”) of Ruby’s Diner,

   5 Inc., a California corporation, et al. jointly administered on September 5, 2018 as lead case no.

   6 8:18-bk-13311-SC (“Lead Debtor” or “RDI”), with the following associated bankruptcy cases:

   7 (a) 8:18-bk-13199 SC – Ruby’s Huntington Beach, Ltd., a California limited partnership; (b)

   8 8:18-bk-13201 SC – Ruby’s Oceanside Ltd., a California limited partnership. I have personal

   9 knowledge of the facts set forth herein, and if called upon to do so, could and would competently

  10 testify to those facts.

  11          3.      I make this Declaration in support of the First Interim Fee Application (“Fee

  12 Application”), filed as Dk. No. 992 on January 21, 2021, by GlassRatner Advisory & Capital

  13 Group, LLC (the “Firm”) and supplemented by the Declaration of J. Michael Issa filed as Dk.

  14 No. 1016 on February 2, 2021, seeking compensation and reimbursement of expenses in this

  15 case.

  16          4.      I have reviewed the Fee Application, which covers the period of April 15, 2020

  17 through and including December 31, 2020, and have the following comments thereto:

  18          Preliminary Statement:
                     Opus Bank and I have separately assessed the fees requested by the Firm.
  19           Opus Bank has met and conferred with the Firm and it appears they have
              resolved many of their issues. I, too, have met with Mr. Issa of GlassRatner and
  20          have resolved my issues.
  21                  I want to start off by saying that Mr. Issa and his senior associate, Wen
              Tan, have been invaluable. The chapter 7 Estate got the benefit of their three plus
  22          years of involvement in these cases and had I hired new financial advisors the bill
              would have been substantially higher. As a result of their efforts, the Estate sold
  23          the two restaurants, Huntington Beach and Oceanside, for the full pre-pandemic
              value in a very competitive auction in this court.
  24
                      A.     RDI: At my request the Firm will withdraw the fee application for
  25          RDI. There are currently no unencumbered funds with which to pay them. The
              Firm will wait until lien issues are resolved or there is an order under 11 USC
  26          Section 506(c).
  27 / / /

  28



                       TRUSTEE’S DECLARATION IN SUPPORT OF INTERIM FEE APPLICATION
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   1                B.     Ruby’s Huntington Beach:

   2        Previous request for fees: $355,483.20
            Current request for fees: $279,824.04
   3
                   The fees have been reduced as a result of a combination of discussions
   4        between Opus Bank and myself (independent discussions). For example, the
            Firm has removed all charges related to Directors and Officers potential litigation
   5        and any charges relating to other restaurant locations (Palm Springs and
            Woodbridge). They reserve the right to allocate fees related to Directors and
   6        Officers litigation to this estate.

   7                Of the above fees, $232,071 is their commission based on a charge of 7%
            of the sales price of Huntington Beach. I have no objection to this, particularly in
   8        light of the results they achieved for the Estate.

   9                The remaining portion is $47,753.04. My concerns with this sum are as
            follows:
  10                i. The Firm has the following categories: “Asset Analysis,” “Business
            Operations,” “Business Analysis,” and “Data Analysis”. I have requested and the
  11        Firm has agreed to submit a supplemental declaration that would provide that
            none of the time in the above categories includes time: i) relating in any manner
  12        in preparing the presentation or information relating to selling assets, ii) relating
            in any manner in formulating a sale price, iii) relating in any manner in talking to
  13        buyers or prospective buyers or landlords relating to a sale or offering the asset
            for sale, iv) in marketing assets for sale, v) negotiating with buyers or prospective
  14        buyers and vi) relating in any manner in setting strategy to maximize return of the
            assets. I have further asked them to certify that the time actually billed in these
  15        categories is substantially related to managing day to day financial affairs of
            operating the business or relating to cash collateral budgets and issues.
  16
                    ii. The Firm will certify that the time charged was accurate for each case
  17        or, in certain instances or in certain categories they divided their time by
            allocating 77.1% of the time to the Huntington case and 22.9% of the time to the
  18        Oceanside case. This ratio represents the ratio of dollars received in each of the
            respective cases. I have no objection to this allocation unless the tasks are discrete
  19        for a particular case.

  20
                    C.     Ruby’s Oceanside:
  21
            Previous request for fees: $105,584.50
  22        Current request for fees: $83,112.46

  23               The fees have been reduced as a result of a combination of discussions
            between Opus Bank and myself (independent discussions). For example, the
  24        Firm has removed all charges related to Directors and Officers potential litigation
            and any charges relating to other restaurant locations (Palm Springs and
  25        Woodbridge). They reserve the right to allocate fees related to Directors and
            Officers litigation to this estate.
  26
                    Of the above fees, $68,929 is their commission based on a charge of 7% of
  27        the sales price of Huntington Beach. I have no objection to this, particularly in
            light of the results they achieved for the Estate.
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                     TRUSTEE’S DECLARATION IN SUPPORT OF INTERIM FEE APPLICATION
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   1                  The remaining portion is $14,183.46. My concerns with this sum are as
              follows:
   2                  i. The Firm has the following categories: “Asset Analysis,” “Business
              Operations,” “Business Analysis,” and “Data Analysis”. I have requested and the
   3          Firm has agreed to submit a supplemental declaration that would provide that
              none of the time in the above categories includes time: i) relating in any manner
   4          in preparing the presentation or information relating to selling assets, ii) relating
              in any manner in formulating a sale price, iii) relating in any manner in talking to
   5          buyers or prospective buyers or landlords relating to a sale or offering the asset
              for sale, iv) in marketing assets for sale, v) negotiating with buyers or prospective
   6          buyers and vi) relating in any manner in setting strategy to maximize return of the
              assets. I have further asked them to certify that the time actually billed in these
   7          categories is substantially related to managing day to day financial affairs of
              operating the business or relating to cash collateral budgets and issues.
   8
                      ii. The Firm will certify that the time charged was accurate for each case
   9          or, in certain instances or in certain categories they divided their time by
              allocating 77.1% of the time to the Huntington case and 22.9% of the time to the
  10          Oceanside case. This ratio represents the ratio of dollars received in each of the
              respective cases. I have no objection to this allocation unless the tasks are discrete
  11          for a particular case.

  12

  13          I declare under penalty of perjury under the laws of the United States of America that the

  14 foregoing is true and correct.

  15                 Executed on February 12, 2021.

  16
                                                       /s/ Richard A. Marshack
  17                                                 RICHARD A. MARSHACK

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                       TRUSTEE’S DECLARATION IN SUPPORT OF INTERIM FEE APPLICATION
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): TRUSTEE’S DECLARATION IN SUPPORT OF
FEE APPLICATIONS BY GLASSRATNER ADVISORY & CAPITAL GROUP, LLC will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
February 12, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On , I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary
proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

MAIL REDIRECTED TO TRUSTEE                        MAIL REDIRECTED TO TRUSTEE                              MAIL REDIRECTED TO TRUSTEE
DEBTOR                                            DEBTOR                                                  DEBTOR
RUBY'S DINER, INC., A                             RUBY'S OCEANSIDE LTD., A                                RUBY'S HUNTINGTON BEACH, LTD.,
CALIFORNIA CORPOR                                 CALIFORNIA LIM                                          A CALIFO
4100 MACARTHUR BLVD.                              4100 MACARTHUR BLVD STE 310                             4100 MACARTHUR BLVD STE 310
SUITE 310                                         NEWPORT BEACH, CA 92660-2050                            NEWPORT BEACH, CA 92660-2050
NEWPORT BEACH, CA 92660-2050

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                             JUDGE’S COPIES NOT REQUIRED UNTIL FURTHER NOTICE.
                  Judge Clarkson will excuse compliance with LBR 5005-2(d) (requiring Judge’s copies)
                                                 until further notice.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  February 12, 2021            Pamela Kraus                                                     /s/ Pamela Kraus
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
        Case 8:18-bk-13311-SC                    Doc 1026 Filed 02/12/21 Entered 02/12/21 15:59:58                                       Desc
                                                   Main Document    Page 6 of 6
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued:

       Leo A Bautista leo.bautista@lewisbrisbois.com, mona.jackson@lewisbrisbois.com;
        Chris.Rodriguez@lewisbrisbois.com,ralphk@cox.net,dcavanaugh@bcccmgmt.com
       George B Blackmar gblackmar@bpslaw.net
       Ori S Blumenfeld Ori@MarguliesFaithLaw.com,
        Helen@MarguliesFaithLaw.com;Angela@MarguliesFaithLaw.com;Vicky@MarguliesFaithLaw.com
       Dustin P Branch branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
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       Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;Meir@wghlawyers.com
       Lillian Jordan ENOTICES@DONLINRECANO.COM, RMAPA@DONLINRECANO.COM
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       Craig G Margulies Craig@MarguliesFaithlaw.com,
        Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
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       Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
                                                                                                    F 9013-3.1.PROOF.SERVICE
June 2012
